        Case 1:19-cv-03705-DLC Document 63 Filed 10/20/20 Page 1 of 1

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UNITED STATES DISTRICT COURT                                                                                               \   '.   '


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SOUTHERN DISTRICT OF NEW YORK                                         ,
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CHINA GRILL, INC.,                                                    r_) ., 4·~-r r,              :.-. ,_ ,'·.·, _., ·. -tO rcru
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                                   Plaintiff,
                  -against-                                          19 CIVIL 3705 (DLC)

                                                                          JUDGMENT
ADP, LLC,

                                   Defendant.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated October 20, 2020, ADP's motion for summary

judgment is granted. China Grill's cross motion to amend and remand is denied; accordingly, this

case is closed.

Dated: New York, New York

          October 20, 2020


                                                                     RUBY J. KRAJICK

                                                                           Clerk of Court
                                                               BY:
